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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                              CASE NO. 1:04-cr-00006-MP-AK

DAVID LARRY JONES,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 514, Motion to Continue Sentencing Hearing of

David Larry Jones, filed by the United States. A teleconference was held on August 2, 2005. As

stated during the hearing, the motion to continue is granted and the sentencing is reset for

Thursday, November 10, 2005 at 10:00 a.m.


       DONE AND ORDERED this 3rd day of August, 2005


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
